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 8                             UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     MICHAEL JACKSON and TORY                       Case No. 3:19-CV-1427 LAB AHG
11   SMITH,
12                                    Plaintiffs,   NOTICE OF SUPPLEMENTAL
                                                    AUTHORITY IN SUPPORT OF
13                        v.                        TEAMSTERS LOCAL 2010’S
                                                    SEPTEMBER 27, 2019, MOTION TO
14   JANET NAPOLITANO, in her official              DISMISS
     capacity as President of the University of
15   California; TEAMSTERS LOCAL 2010;
     XAVIER BECERRA, in his official
16   capacity as Attorney General of the State
     of California; and BETTY T. YEE, in her
17   official capacity as Controller of the State
     of California,
18
                                   Defendants.
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20         In support of the Motion to Dismiss Defendant Teamsters Local 2010 (“Local
21   2010”) filed in this matter on September 27, 2019, Local 2010 submits this Notice of
22   Supplemental Authority to notify the Court of the opinion in Savas v. Cal. State Law
23   Enforcement Agency, 2020 U.S. Dist. LEXIS 164598 (S.D. Cal., Sept. 9, 2020).
24         The Court in Savas granted defendants’ motion to dismiss plaintiffs’ complaint
25   which launched a Constitutional attack on enforcement, after plaintiffs had resigned
26   their union membership, of the membership application/dues-deduction authorizations
27   plaintiffs had signed prior to the Supreme Court issued its decision in Janus v.
28   AFSCME Council 31, 138 S. Ct. 2448 (2018). The Court agreed with the arguments
     NOTICE OF SUPPLEMENTAL AUTHORITY ISO OF TEAMSTERS LOCAL                                 1
                                                                                        913938
     2010’S SEPTEMBER 27, 2019, MOTION TO DISMISS
     Case No. 3:19-CV-1427 LAB AHG
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 1   Local 2010 made in support of its motion to dismiss at pages 22-25 of it memorandum
 2   of points and authorities (ECF No. 9-1), concluding that Janus has no application to
 3   employees who sign membership application/dues-deduction authorizations, and
 4   rejecting plaintiffs’ argument that their pre-Janus agreement to sign such membership
 5   application/dues-deduction authorizations was Constitutionally invalid.
 6         A true and correct copy of the in Savas v. Cal. State Law Enforcement Agency
 7   opinion is attached hereto as Exhibit A.
 8

 9   Dated: September 14, 2020                   BEESON, TAYER & BODINE, APC
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11                                               By: /s/ Andrew H. Baker
                                                      ANDREW H. BAKER
12                                               Attorneys for Teamsters Local 2010
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     NOTICE OF SUPPLEMENTAL AUTHORITY ISO OF TEAMSTERS LOCAL                                 2
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     2010’S SEPTEMBER 27, 2019, MOTION TO DISMISS
     Case No. 3:19-CV-1427 LAB AHG
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                           EXHIBIT A
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